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April 10, 2019

Via ECF
Hon. John Michael Vazquez, U.S.D.J.
United States District Court
2 Federal Square
Newark, NJ 07102

       Re:            Juul Labs, Inc., et. al. V. Eonsmoke, LLC
       Dkt. No.:      2:19-cv-8405

Dear Judge Vazquez:

       Please accept this letter as confirmation that Defendant, Eonsmoke, LLC, adopts the
arguments raised in the Ziip Group’s Supplemental Brief on Design Patent Functionality, dated
April 3, 2019, in advance of the continued hearing in the above case on April 12, 2019. Thank
you for your consideration of this matter.


                                                          Respectfully Yours,



                                                          Mark A. Kriegel

cc:    All counsel of record via e-mail and ECF
